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                            UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO
SEXUALITY AND GENDER ALLIANCE,                Case No. 1:23-cv-315
              Plaintiff,                      EXPERT DECLARATION OF
                                              STEPHANIE L. BUDGE, PH.D.
      v.
DEBBIE CRITCHFIELD, et al.,
              Defendants.




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               EXPERT DECLARATION OF STEPHANIE L. BUDGE, PH.D.

        I, Stephanie L. Budge, Ph.D., hereby declare as follows:

        1.      I submit this expert declaration based on my personal knowledge. If called to

testify in this matter, I would testify truthfully and based on my expert opinion.

        2.      I am a licensed psychologist specializing for over 17 years in issues of gender

identity and gender transition and, in particular, the mental health of transgender people and the

treatment of gender dysphoria. I am a full professor in counseling psychology at the University

of Wisconsin-Madison (“UW-Madison”).

        3.      I have been retained by counsel for the Plaintiffs in the above-captioned matter to

provide expert opinions about: (a) the psychological understanding of gender identity and what it

means to be transgender, (b) generally accepted standards of the medical and mental health

practice with respect to the diagnosis and treatment of gender dysphoria, including social

transition, (c) the importance of access to sex-separated facilities as a part of social transition, (d)

the harms caused by excluding transgender students from using sex-separated facilities that are

aligned with their gender identity, and (e) misinformation about transgender people’s use of

restrooms consistent with their gender identity.

I.      QUALIFICATIONS

        4.      The information provided regarding my professional background, experiences,

publications, and presentations are detailed in my curriculum vitae. An accurate and true copy is

attached as Exhibit A to this declaration.

        5.      I received a master’s degree in educational psychology from the University of

Texas at Austin in 2006 and a Ph.D. in counseling psychology in 2011 from the University of

Wisconsin-Madison. My Ph.D. concentration specifically focused on transgender people’s




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mental health. I also specialized in psychological assessment as part of my Ph.D. degree

program.

       6.      I have been a mental health professional since 2006, and I am currently licensed

to practice psychology in the state of Wisconsin (license # 3244-57). I have been a professor in

counseling psychology at the University of Wisconsin-Madison since 2014.

       7.      I have extensive expertise working with transgender people—that is, those whose

sex assigned at birth is different from their gender identity. I have been a mental health provider

to transgender people since 2007. Transgender people have comprised the majority of my

clinical caseload since 2011, and I have worked clinically with approximately 200 transgender

patients through the provision of individual therapy, group therapy, psychological evaluations,

and supervision of others’ clinical work. A significant portion of my clinical work has focused

on adolescents, and I also have extensive experience working with young adults and adults

generally. For example, I held an appointment as a clinical health psychologist at UW-Madison

Health Pediatric and Adolescent Transgender Health (“PATH”) clinic, where I conducted

clinical assessments with transgender adolescents ages 13-18. I have also facilitated clinical

support groups for transgender adolescents ages 14-18 at the Counseling Psychology Training

Clinic at UW-Madison, and I provided psychotherapy to transgender adolescents when I had a

private practice, where I provided referrals to medical care providers and also conducted

assessments to diagnose gender dysphoria. I completed my predoctoral internship training at the

University of Minnesota—Twin Cities’ counseling center, where I specialized in providing

clinical services to transgender college students. In addition, I completed a postdoctoral training

experience at the University of Louisville’s counseling center, where I provided therapy groups




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to transgender college students and over 90% of my caseload focused on transgender college

students.

       8.      As a faculty member and Director of Clinical Training at UW-Madison, I teach

courses that focus on training master’s and doctoral students to become mental health

professionals and psychological researchers. I provide pro bono clinical services and train

student therapists in best practices in clinical work with transgender patients at the Counseling

Psychology Training Clinic, the community clinic affiliated with my academic department at

UW-Madison.

       9.      As part of my faculty appointment, I am the Director of the Transgender

Counseling Advocacy Research and Education (“CARE”) Collaborative. In this role, I design

research projects that focus on the mental health needs of transgender people. One of the current

research projects is an open clinical trial focusing on the effectiveness of psychotherapy for

transgender people. As part of this clinical trial, we trained over 100 mental health providers on

how to reduce distress that is experienced from discrimination by other individuals or entities,

and 49 patients were enrolled in and received psychotherapy as part of the trial. The research we

conduct includes adults, including young college-age adults. We also engage in a large body of

research that focuses on transgender adolescents. Specifically, we recently conducted and

presented analyses from the Trans Teen and Family Narratives project, and we finalized

publishing our sixth and final article from the longitudinal Transgender Youth and Families

Study in 2023. I have published 116 invited and peer-reviewed journal articles and book

chapters, with the majority of these focusing on transgender people. Notably, several of these

publications are focused on the impact of discrimination on transgender youth and adults’ mental

health and effective interventions to improve transgender youth and adults’ mental health. I have




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been involved in more than 200 academic presentations (internationally, nationally, and

regionally). The majority of these presentations have been focused on transgender people, with a

significant proportion focusing on transgender youth.

       10.     I am an associate editor for the journal Psychology of Sexual Orientation and

Gender Diversity. I am on the editorial board for the International Journal of Transgender Health

as well as LGBTQ+ Family: An International Journal. Researchers in the United States and

across the world regularly seek my assistance as an expert reviewer for research focused on

transgender people.

       11.     I have received several awards for my work in the science and clinical practice of

working with transgender people. For example, I recently received the 2025 American

Psychological Association Distinguished Contribution to Public Policy Award and the 2024

Vilas Mid Career Award. I received the 2021 American Psychological Association Distinguished

Contribution to Counseling Psychology Award for my clinical work and research with

transgender people. I also received the 2021 American Psychological Association Social Justice

Award for my contributions to psychotherapeutic practice with transgender people. I was the first

recipient of the American Psychological Association Transgender Research Award in 2010. For

my community-focused research, I received the UW-Madison School of Education 2018

Community Engaged Scholar Award, the 2021 UW-Madison Exceptional Service Award, and

the 2022 UW-Madison School of Education Excellence in Diversity Award.

       12.     I am a member of the Society for the Psychology of Sexual Orientation and

Gender Diversity within the American Psychological Association (“APA”), of which I am also a

member. In August 2021, I completed a 10-year term as co-chair of the Science Committee for

the Society and continue as a member of this committee. We provide programming at the APA




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annual convention to disseminate cutting edge research on the best psychological practices and

evidence-based treatments for lesbian, gay, bisexual, transgender, and queer (“LGBTQ”) people.

At the 2022 APA annual convention, I chaired or participated in six presentations and panels that

focused on best practices in psychological science regarding transgender populations and

interventions to reduce psychological distress for transgender people; in August 2024 I was

engaged in similar science-based discussions at the APA annual convention. In 2021, I became a

Fellow of the American Psychological Association.

       13.     In addition, I am a member of the World Professional Association of Transgender

Health (“WPATH”). WPATH is an interdisciplinary professional organization of individuals

worldwide specializing in research and practice in transgender health. WPATH publishes the

Standards of Care for the Health of Transsexual, Transgender, and Gender Nonconforming

People, which are widely accepted by health care practitioners across disciplines who provide

care to transgender people.

       14.     I am being compensated at an hourly rate of $250/hour for actual time devoted for

research, preparation, reports, and / or consulting related to my expert opinion in this case. If

deposed or providing testimony, I will be compensated at a rate of $400/hour. I also receive

$3,000 a day for compensation when travel is required for my services. My compensation does

not depend on the outcome of this litigation, the opinions I express, or the testimony I provide.

       15.     In the previous four years, I have testified as an expert at trial or by deposition in

Cooper v. USA Powerlifting, No. 62-CV-21-211 (Minn. Dist. Ct. 2022); Doe v. Horne, No. 4:23-

cv-00185 (D.Ariz. 2023); Roe v. Critchfield, No. 1:23-cv-315 (D. Idaho 2023); R.F. v. Platte

County R-3 School Dist., No. 23AE-CC00205 (Missouri, 2024); and Doe v. Elkhorn Area School




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Dist., No. 2:24-cv-00356 (Wisconsin, 2024); Doe v. South Carolina, No. 2:24-cv-06420 (D.S.C.

2024).

         16.   In preparing this expert declaration, I reviewed the text of Idaho Senate Bill 1100

at issue in this matter. My opinions are based on my education; my clinical experience; research

findings from my own scholarship; my review of the seminal and most influential psychological

and public health research on transgender people, including the most current research, published

as recently as this year. Attached as Exhibit B is a bibliography of the relevant and pertinent

medical and scientific literature relating to the opinions expressed in this expert declaration. The

materials I have relied upon in preparing this expert declaration are the same types of materials

that experts in my field of study regularly rely upon when forming opinions on these subjects. I

reserve the right to supplement these opinions based on subsequent developments in my field

and/or factual developments in this litigation.

II.      BACKGROUND INFORMATION ON GENDER IDENTITY AND GENDER
         DYSPHORIA

         17.   The term “gender identity” is a well-established concept in psychology and

medicine, referring to a person’s internal or psychological sense of having a particular gender.

All human beings have a gender identity. People usually begin to explore and understand their

gender identity around the age of three (with some variation), although some transgender people

may not begin to recognize or express their gender identity until later in life.

         18.   Every individual’s sex is multifaceted and composed of many distinct biologically

influenced characteristics, including, but not limited to, chromosomal makeup, hormones,

internal and external reproductive organs, secondary sex characteristics, and gender identity.

Accordingly, using a term such as “biological sex” is inaccurate, because there are a multitude of

factors that contribute to one’s sex.



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       19.     At birth, the sex of infants is typically assigned as male or female based on

external genitalia. Typically, people born with the external physical characteristics commonly

associated with males identify as men and experience themselves as male, and people born with

the external physical characteristics commonly associated with females identify as women and

experience themselves as female. However, for transgender people this is not the case. For

transgender people, their internal sense of their gender—that is, their gender identity—differs

from the sex they were assigned at birth.

       20.     Unlike cisgender people, transgender people experience a pervasive, consistent,

persistent, and insistent sense of being a gender different from the sex assigned to them (e.g.,

Olson et al., 2015; Rafferty et al., 2018).

       21.     Neuroimaging data demonstrate strong evidence to indicate biological factors

related to transgender identity (see Sanchez & Pankey, 2017 for a review; Spizzirri et al., 2018).

Given the multifaceted nature of sex as described above, neuroimaging can capture a multitude

of components that reflect the complexity of sex (referred to as the brain mosaic by neuroscience

researchers, see Rouse & Hamilton, 2021). Neuroscience research conducted with transgender

people reflects the complexity of sex and has become more specific over the years. There is not

one particular component in the brain that is indicative of sex, and the studies over the years

reflect the complexity of how researchers are measuring components of sex. For example,

transgender women’s hypothalamus responded similarly to cisgender women’s hypothalamus

when encountering pheromones (Berglund et al., 2008) and transgender women demonstrated

similar cognitive responses in their parietal lobe to cisgender women when manipulating certain

2D and 3D images (Carillo et al., 2010). In addition, research indicates adolescent trans boys




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demonstrated alignment with cisgender boys in their sensorimotor network; similar findings

were noted for adolescent trans girls when compared to cisgender girls (Nota et al., 2017).

       22.     For many people who experience incongruence between their gender identity and

their sex assigned at birth, the incongruence can cause serious emotional distress.

       23.     Gender dysphoria, codified in the American Psychiatric Association’s (2022)

Diagnostic and Statistical Manual of Mental Disorders Fifth Edition Text Revision (“DSM-5-

TR”), is the psychiatric diagnosis for the distress associated with gender incongruence. People

who are diagnosed with gender dysphoria can experience a number of different symptoms. When

people with distress related to gender incongruence are unable to live consistently with their

gender identity and do not obtain competent and necessary treatment (which may include a social

transition and medical treatments), serious and debilitating psychological distress (for example,

suicidal ideation, substance use, depression, anxiety, and self-harm) often occurs.

       24.     Treatment of gender dysphoria often includes social transition. Social transition

refers to living in the world in a manner consistent with the individual’s gender identity. For

some adolescents and adults, medical interventions to align the individual’s body with their

gender identity may be indicated. Treatment is individualized based on the needs of the patient

and the patient’s age.

       25.     For transgender people, social transition can be an important aspect of treatment

to reduce the symptoms of gender dysphoria. As part of a social transition, an individual will

typically, among other things, use a name and pronouns congruent with their gender identity,

dress and groom in a manner typically associated with their gender identity and use sex-

designated facilities such as restrooms that align with their gender identity. To be clinically

effective at alleviating the distress associated with gender dysphoria, a social transition must be




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respected consistently across all aspects of a transgender person’s life—for example, at home, in

school, and at work.

        26.     Most transgender adolescents and adults will undergo some type of social

transition. Youth and adults who do not move forward with a social transition are often barred

from doing so due to external factors, such as unsupportive caregivers or lack of safety (see

Ehrensaft et al., 2018). Current evidence-based treatment protocols indicate that when

transgender adolescents and adults socially transition, mental health and medical providers and

social supports should affirm their gender identity to ensure that their gender identity is part of

their lived experience in all aspects of their lives. It is the aim of treatment to assist the

adolescents and adults in successfully integrating their internal identity into a life that allows

them to function consistently in accordance with that identity and not feel shame for who they

are. For transgender people for whom social transition is part of their treatment of gender

dysphoria, it is likely that serious distress will result if clinically indicated aspects of transition

are impeded.

        27.     There are no medical interventions indicated for pre-pubertal children. For

transgender adolescents and adults, hormone therapy may be prescribed—either puberty-

delaying hormones designed to delay the onset of physical changes associated with puberty

and/or hormones designed to masculinize or feminize the individual’s appearance. Gender-

affirming surgeries may be advised for some older adolescents and adults, depending on a

number of factors. While surgeries are generally not performed until after the adolescent has

reached the age of majority, there may be some factors that clinically indicate the need for

surgery prior to the age of majority (see Grimstad et al., 2021). Whether any of these medical

interventions are indicated for a patient depends on the needs of the individual patient. And




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informed consent and a rigorous psychological assessment are advisable before initiating any

medical interventions to treat adolescents with gender dysphoria.

        28.    Transgender boys and men treated with hormone therapy may appear

indistinguishable from cisgender boys and men, and transgender girls and women treated with

hormone therapy may appear indistinguishable from cisgender girls and women. Transgender

boys who are prescribed puberty blockers will not develop breasts or the muscle and fat

distribution experienced by girls during puberty, and if that is followed by testosterone, they

typically will, among other changes, have a chest, muscle/fat distribution, facial and body hair,

skin changes that may increase acne, and deepened voice typical of other boys and men.

Transgender girls who are prescribed puberty blockers will not develop the deepened voice,

facial hair, and muscle development experienced by boys during puberty, and if that is followed

by estrogen and anti-androgen medication, they will have the breast development, redistribution

of fat (specifically to abdomen, buttocks, hips, thighs, and arms), musculature, and hair and skin

texture typical of other girls and women.

III.    DISCRIMINATION AGAINST AND VICTIMIZATION OF TRANSGENDER
        PEOPLE

        29.    Excluding transgender boys and men from using facilities used by other boys and

men, and transgender girls and women from using facilities used by other girls and women,

subjects transgender students to discrimination in a context in which they already experience a

disproportionate amount of discrimination and adverse health impacts that result from

discrimination.

        30.    Psychological science has used the concept of minority stress to understand and

explain the reasons why transgender people (and members of other minority groups) experience

physical and mental health disparities. The minority stress model indicates that there are three



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types of minority stressors: 1) external stressors, 2) expectations of external stressors, and 3)

internal stressors. Examples of external stressors experienced by transgender people include

discrimination, prejudice, harassment, rejection, and non-affirmation of gender identity.

Examples of internal stressors experienced by transgender people include: concealing one’s

gender identity, internalizing gender-related stigma, and constantly thinking about one’s gender.

Transgender people will often expect that they will experience external stressors due to having

actually experienced these in the past (or currently experiencing them) as well as witnessing or

hearing about other transgender people who have experienced external stressors.

       31.     In addition to studies that focus generally on external stressors, there have been

several studies that delve into specific types of external stressors. For example, there is one type

of external stressor called misgendering that includes communications or actions that convey that

a person’s gender is misperceived or is being purposefully denied. Examples of misgendering

can include using a name or pronouns inconsistent with a person’s gender identity or denying

them access to gendered facilities that are consistent with their gender identity (McLemore,

2018). In a study with 1,091 participants, researchers reported higher anxiety scores for

participants who reported more instances of misgendering (Jacobsen et al, 2023). McLemore

(2015) found that experiences of being misgendered were associated with anxiety and negative

affect (e.g., hostility and guilt), lower self-esteem related to appearance, and felt stigma. In a

follow-up study with more specific measures regarding mental health, McLemore (2018) again

reported that experiences of being misgendered were related to depression, anxiety, stress, and

felt stigma. In addition to depression and anxiety, Colson et al. (2024) found that participants

reported post- traumatic stress symptoms as a result of misgendering.




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       32.     Misgendering, along with other forms of external stressors, is considered a form

of social exclusion. Social psychology has established that seeking social acceptance is one of

the most basic human needs and that the harms of social exclusion based on identity are

widespread and can be catastrophic. On an individual level, social exclusion impacts one’s sense

of belonging, self-esteem, sense of existence, and self-control. Social exclusion is associated

with an increase in maladaptive behaviors and risk-taking behaviors. On a systematic level,

social exclusion is often reinforced by organizations and institutions adopting policies and

procedures that can enforce discrimination toward certain groups of people. Social exclusion is

considered harmful in general; however, it can be even more harmful when people in positions of

power perpetuate notions that isolate and stigmatize transgender people. Research on social

identity theory describes the harm that results when people of higher status—usually people in

power such as administrators—fail to affirm or actively disaffirm lower-status individuals with a

marginalized identity (Hogg, 2016). This often leads to external forms of harm such as

ostracization and discrimination against the individual by peers and others, as well as internal

harms such as internalized shame and self-hatred. These internal and external factors can be

directly related to psychological distress, such as post-traumatic stress disorder, depressive

disorders, anxiety disorders, and hypertension, amongst myriad other health concerns.

       33.     In a study involving 610 transgender people (Galupo et al. 2020), study

participants provided information about their experience of gender dysphoria. When asked about

the impact of being misgendered or otherwise discriminated against based on their being

transgender, they provided descriptions such as “it’s like a visceral, violating, physical

manifestation of psychological pain for me” and “each of those [misgenderings] is a knife.” In

my recent publications on the experience of gender dysphoria, the data indicate that gender




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dysphoria is distressing (Lindley, Lee, Norton & Budge, 2024) and that social experiences, like

misgendering, increase gender dysphoria (Lindley, Pulice-Farrow, & Budge, 2023).

       34.     There is a large body of scientific data indicating that transgender people

experience a significant number of external stressors. The 2022 U.S. Transgender Survey (James

et al., 2024), collected data regarding discrimination experiences of 92,392 transgender people,

aged 16 and above in the United States. This dataset concluded that transgender people

experience substantial discrimination through a multitude of contexts, including employment,

education, facilities, housing, legal protections, and access to health care services. Specifically,

80% of participants ages 18 and above and 60% of 16 and 17 year old participants indicated that

they experienced mistreatment and negative experiences in K-12 school specifically related to

being transgender.

       35.     In their systematic review of discrimination experiences reported by transgender

people, McCann & Brown (2017) found that for 19 studies including over 9,000 participants,

experiences of transgender-specific discrimination ranged from 40-70%, depending on the type

of discrimination (e.g., health care discrimination, harassment, violence). However, more recent

estimates indicate the numbers might be higher than in the 2017 review. In a study my

colleagues and I recently conducted with a sample of 575 transgender participants, 92.6%

reported at least one lifetime experience of transgender-related discrimination (for example, not

being treated fairly or justly in specific environments), 94.2% reported at least one lifetime

experience of anti-transgender rejection (for example, relationships ending or feeling unwelcome

in certain communities), and 78.9% reported at least one lifetime experience of anti-transgender

victimization (for example, experiences of physical harm, harassment, or property damage) (see

Barr, Snyder, Adelson, & Budge, 2021). Also, in a study focusing on discrimination experiences




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of transgender people, 76.1% of the sample reported experiencing discrimination in the past year

(Puckett et al., 2020). In addition to experiences of discrimination, transgender people report

extensive exposure to mistreatment, harassment, and violence (James et al., 2016). One of the

largest nationwide U.S. studies focused on LGBTQ youth demonstrates that transgender youth

experience significant amounts of harassment, bullying, and violence (Kosciw et al., 2022). In a

report from the data that compared transgender and cisgender youth (GLSEN, 2021), 84.4% of

transgender youth felt unsafe at school when compared to 20.6% of their cisgender LGBQ peers.

In addition, 43.6% of the transgender sample reported missing school because they felt unsafe or

uncomfortable, compared to 24.9% of their cisgender LGBQ peers. The study indicated that

77.3% of transgender students reported experiencing discrimination at school, compared to

46.1% of the cisgender sample. In the overall report (Kosciw et al., 2022), 80.3% of youth

reported hearing biased language regarding gender expression and 65.2% reported hearing anti-

transgender language while at school. Of those youth, 72% reported that there was a staff

member present while hearing those remarks and that 91.2% of staff never intervened or

intervened only sometimes. In one of the largest nationwide Canadian studies to focus on

transgender youth (Taylor et al., 2020), 66% of youth reported being bullied, 35% were

physically threatened or injured, 9% were threatened with a weapon; 63% reported experiencing

verbal sexual harassment, 34% reported physical sexual harassment. In another study,

transgender youth reported high rates of physical violence at school (57%) and nonphysical

victimization at school (68%) (De Pedro & Gorse, 2023).

       36.     Transgender adolescents experience a great deal of victimization in the school

environment, including bullying, physical assault, sexual assault, maltreatment, property

victimization, and witnessing/indirect victimization. In their systematic review, Martin-Castillo




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et al. (2020) examined the effects of school-based victimization for K-12 and college students

throughout 19 studies covering over 23,000 transgender people. Results from this systematic

review indicate that transgender youth experience significantly higher rates of victimization at

school than their cisgender peers. An additional systematic review of K-12 transgender students’

experiences in schools indicates that bullying and victimization are two primary contributors to

mental health concerns (Day & Brömdal, 2024).

       37.     Research that focuses specifically on transgender college students and

victimization indicates that college students report victimization at higher rates when compared

to cisgender peers (Griner et al., 2020). In Daigle et al.’s (2025) study focused on 7 different

types of victimization experienced by college students, they noted that transgender college

students reported higher rates of all seven types of victimization (violent victimization, sexual

victimization, intimate partner violence victimization, stalking, bullying, microaggression, and

discrimination) when compared to their cisgender peers.

       38.     There also is robust data regarding the psychological impact of external stressors

for transgender youth and young adults. Exposure to discrimination has been linked with higher

reports of depression, anxiety, post-traumatic stress disorder, self-harm, and suicidality (e.g.,

Chozden et al., 2019; Price-Feeney, Green, & Dorison, 2020; Veale et al., 2019; Wilson et al.,

2016). Pease and colleagues (2022) note that external minority stressors were directly related to

psychological distress for young adults. In addition to this finding, they also note that

experiencing more anti-transgender discrimination leads to higher levels of gender dysphoria,

which then increase psychological distress for young adults. Real and Russell (2025) found in

their sample of 116 transgender youth assessed over a four-year period of time demonstrated

higher reports of depression in association with experiencing victimization and that this was




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significantly higher than rates from the sexual minority youth in the study. A recent meta-

analysis noted that gender related discrimination, gender related rejection, gender related

victimization, and non-affirmation of gender identity were all positively related to depression

and anxiety (Wilson et al., 2024). For college students specifically, higher rates of victimization

and discrimination were related to higher levels of depression, alcohol use, suicide attempt

history, and self-harm (Busby et al., 2020).

       39.     Regarding mental health disparities, transgender youth consistently report higher

instances of mental health concerns when compared to their cisgender counterparts. When

compared with cisgender matched controls, transgender youth displayed a twofold to threefold

increased risk of depression, anxiety, suicidal ideation, suicide attempt, and self-harm (Reisner et

al., 2015). Fox et al. (2020) report that transgender adolescents were 8 times more likely to report

depressive symptoms when compared to cisgender adolescents and were 5 times more likely

than cisgender adolescents to report self-harm and suicidality. There is a large body of research

demonstrating that these disparities can be explained primarily by the presence of external

stressors. One study by Suarez et al. (2024) analyzed data comparing 98,174 cisgender and

transgender youth and found that transgender students were more likely than cisgender students

to report experiences of violence, poor mental health, suicide risk, some sexual risk behaviors,

unstable housing, and felt less belonging at school. An additional study analyzing over 17,000

youth noted that transgender youth reported higher rates of mental health diagnoses and

suicidality when compared to cisgender youth (Nunes-Moreno et al., 2025).

       40.     For college students specifically, Pascale and DeVita (2024)’s research found that

transgender college students reported higher rates of self-harm and suicide attempts when

compared to cisgender college students. Valen et al (2025) analyzed data comparing transgender




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(n = 3,902) and cisgender college students (n = 87,165) and noted both physical health and

mental health disparities, noting that transgender college students reported higher rates of:

psychological distress, suicidality, ADHD, depression, anxiety, PTSD, chronic pain, and

insomnia.

       41.     Although all psychological distress deserves attention, suicidality (suicidal

ideation, suicide attempts, and completed suicide) is perhaps one of the most devastating

outcomes due to the finality of completed suicide. For transgender youth, the evidence indicates

that suicidality is an overwhelming mental health disparity. Data indicate that transgender youth

are more likely to attempt suicide when compared to cisgender youth; for example, researchers

indicated that 45% of transgender youth in their sample reported attempting suicide compared to

12% of cisgender boys and 24% of cisgender girls (Zell & Kerr, 2024). Additional studies

indicate that transgender youth are 2.71 times more likely to attempt suicide than cisgender

youth (Jackman et al., 2019). In addition, in a sample of transgender youth, 86% reported

suicidal ideation and 56% reported a previous suicide attempt and that external stressors such as

harassment and bullying were directly related to suicide attempts (Austin et al., 2022). As noted

above, these disparities can be explained primarily by the presence of external stressors. A recent

systematic review indicated that safety and connectedness at school were amongst some of the

primary protective factors from suicide attempts for transgender youth (Christensen et al., 2023).

       42.     For college students, suicidality is also a significant concern. Liu et al. (2019)

indicated that transgender students are 1-2.4 times as likely to report suicidality and mental

health issues when compared to cisgender women. Woodford et al. (2018) reported that almost

10% of the transgender college students in their sample had attempted suicide, which they

compared to national rates of college students ranging from .06% to 1.3%. In a more recent




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study, results noted that transgender college students had a lifetime suicide attempt rate of 29%

and that 45% of the sample had experienced suicidal ideation in the past year (Busby et al.,

2020). In one of the largest samples of transgender young adults (age 18-25) in the US, 66% of

respondents indicated an experience of suicidal ideation (Wang et al., 2024).

       43.     Studies demonstrate that a negative school climate is not only detrimental to

transgender youths’ mental health, but also impacts their academic achievement. When

compared to cisgender youth, transgender youth were three times more likely to be truant from

school due to feeling more unsafe and distressed (Day et al., 2018). Additionally, transgender

youth reported greater victimization at school and poorer academic performance when compared

to cisgender LGBQ+ peers (Poteat et al., 2021). Transgender youth are statistically more likely

to fail a class than cisgender youth and are less likely to take advanced math classes by the end

of their school (Wilkenson et al., 2021).

IV.    THE IMPACTS OF EXCLUDING TRANSGENDER STUDENTS FROM
       FACILITIES THAT MATCH THEIR GENDER IDENTITY

       44.     In the United States, school and other public multiple occupancy restrooms are

typically separated based on gender (women’s and men’s or girls’ and boys’ restrooms), unlike

most other spaces. (As such, there are already generally prohibitions in place that bar cisgender

boys from using girls’ restrooms and cisgender girls from using boys’ restrooms.) When

facilities are gendered and a transgender person is prohibited from using facilities consistent with

their gender identity, a variety of negative consequences can result, each of which can lead to

adverse mental and/or physical health for the excluded transgender person. These include: (1)

feelings of rejection, invalidation, isolation, shame, and stigmatization; (2) interference with the

process of social transition; (3) disclosure that the individual is transgender to others who may

not know that (and to whom the individual does not wish to disclose that); (4) communication to



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others of a view that the transgender person does not belong in spaces used by their peers and

that there is something wrong with the individual, which can foster additional discrimination,

harassment, and even violence; (5) efforts to avoid going to the restroom, including restricting

intake of fluids and food, which can cause serious physical illness and other significant health

consequences; and (6) reduction in the ability to concentrate and learn.

       45.     In addition, when “accommodations” are offered to transgender people that

require them to use a separate restroom that is not usually designated for their group (e.g.,

sending a high school student to a faculty or nurse’s restroom) or when a transgender person is

told that they—but not their peers—must use a single-user restroom, that individual is being told

not only that their gender identity is invalid, but that they are something “other” and must be

separated from all their peers because of who they are. Numerous research studies have

confirmed the negative psychological impact of being invalidated and “othered” in these ways

(e.g., Price-Feeney et al., 2021; McGuire et al., 2022; McLemore, 2015; McLemore, 2018).

       46.     Defendants have argued that providing gender-neutral restrooms is part of gender-

affirming support and care (citing, e.g., Price-Feeney et al., 2021). This relies on a

mischaracterization of research. There is a significant difference between forcing a transgender

student to use a gender-neutral restroom where that is not the facility the student wishes to use

and providing a transgender student with access to gender-neutral restroom where that is the

facility that the student prefers. While the latter situation could be viewed as affirming, the

former situation cannot.

       A.      Excluding students who are transgender from facilities that are consistent
               with their gender identity worsens the already severe discrimination
               experienced by transgender people, contributing to negative health outcomes.

       47.     Adding to the discrimination transgender youth already experience by excluding

them from using the same restrooms as their peers subjects these youth to significant


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psychological harm and worsens their mental health, including causing feelings of rejection,

invalidation, isolation, shame, and stigmatization, as well as depression, anxiety, and suicidal

ideation. Research also indicates that there are cumulative effects of experiencing discrimination,

especially related to trauma. In a recent study, my colleagues and I found that the chronicity and

accumulation of discrimination events were related to higher incidences of Post-Traumatic Stress

Disorder (Barr et al., 2021).

       48.     Although many transgender people report negative consequences when they are

restricted from using restrooms consistent with their identity, this exclusion may be particularly

damaging during adolescence and young adulthood. This time period is marked by a time of

development where individuals’ attention and awareness are particularly heightened related to

looks, “fitting in,” and navigating complex social interactions. Transgender adolescents and

young adults are typically acutely self-conscious of the ways they may be perceived as different

from their peers of the same gender. An internal consequence of that “not fitting in” is often

internalized shame and sometimes diagnosable social anxiety and depression. External

consequences can include experiences of bullying, harassment, and discrimination by peers and

adults within school institutions. Of particular concern is bullying and harassment of transgender

students, and even violence against them, if they use restrooms that are inconsistent with how

they appear to, or are known to, others.

       49.     In addition to the links between harassment and discrimination from peers and

clinical distress in transgender adolescents and young adults, it can be even more harmful when

adults in power perpetuate notions that isolate and stigmatize transgender adolescents. Research

on what is known as social identity theory describes the harm that results when people of higher

status— usually people in power, such as, in the case of students, school administrators—fail to




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affirm or actively disaffirm lower-status individuals with a marginalized identity. This often

leads to external forms of harm such as ostracization and discrimination against the individual by

peers and others, as well as internal harms such as internalized shame and self-hatred. These

internal and external factors can be directly related to psychological distress, such as post-

traumatic stress disorder, depressive disorders, anxiety disorders, and hypertension, amongst

myriad other health concerns.

       50.     Research demonstrates that serious harms can result when transgender people are

not allowed to use restrooms corresponding to their gender identity (Horne et al., 2022; McGuire

et al., 2022; Price-Feeney et al., 2021). Most transgender people begin using restrooms consistent

with their identity after completing other aspects of social transition (wearing clothing associated

with their gender, changing their hair, etc.). Transgender and gender non-conforming people

regularly face harassment and victimization in restrooms corresponding with their sex assigned

at birth (Herman, 2013). Requiring transgender people to use facilities that do not correspond to

their gender identity following a social transition thus subjects those people to increased risk of

actual victimization as well as to the realistic fear of such victimization, with the accordant

harms resulting from that stress.

       51.     Highlighting the harm caused to transgender youth, a recent study by DeChants et

al. (2025) indicates that out of a sample of 12,596 transgender youth and young adults ages 13-

24, 71% of transgender youth report either sometimes or always avoiding using restrooms due to

concerns about discrimination. In addition, 67% of youth report “holding it” and 38% indicate

that they avoid drinking liquids to avoid using the restroom. Those who avoided bathrooms had

twice the odds of attempting suicide in the past year compared with transgender youth who did

not avoid using the bathroom. Price-Feeney, Green, and Dorison (2021) note that in a sample of




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7,370 transgender youth and young adults ages 13-24, 58% reported being prevented or

discouraged from using a restroom that corresponds to their gender identity. Of those youth, 85%

reported experiencing depression and 60% seriously considered suicide. Statistical analyses

indicated that restroom discrimination against transgender youth not only increased depression

and thoughts of suicide but was also related to one or more suicide attempts. Additional data

indicate that internalizing the impact of legislation restricting restroom use is related to

depression and anxiety for transgender people (Horne et al., 2022). A qualitative study of

transgender youth and young adults’ (ages 12-23) experiences with restrooms by McGuire et al.

(2022) indicates that restrictions on one’s use of gendered restrooms impeded participants from

having a good quality of life and impacted how they structured their lives, moved through their

days, interacted with others, and envisioned their futures. They also described chronic

embarrassment, anxiety, and poor self-esteem specifically tied to fears of harassment and

actually experiencing harassment in restrooms that specifically did not align with their gender

identity. A sample of 2,316 transgender college students reported that being denied appropriate

restrooms on campus was related to higher rates of suicide attempts (Seelman, 2016).

       B.      Excluding transgender students from facilities that are consistent with their
               gender identity interferes with social transition.

       52.     Because social transition involves an individual living in the world in a manner

consistent with the individual’s gender identity, being excluded from facilities consistent with

one’s gender identity is inconsistent with and will interfere with the process of social transition.

       53.     Research demonstrates the importance of social transition for transgender youth

and young adults. Research from the longitudinal TransYouth Project (TYP) indicates that

transgender youth who have socially transitioned demonstrate similar depression levels when

compared to cisgender youth (Durwood et al., 2017; Olson et al., 2016). Additional research



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demonstrates that social transition processes are related to less depression, less suicidal ideation,

and less suicidal behaviors (Russell et al., 2018). As well, transgender-related harassment in K-

12 school environments primarily accounts for negative mental health experiences of transgender

students, and if students socially transition, the positive mental health effects from the social

transition can act as a protective factor from the effects of harassment in those environments

(Turban et al., 2021).

       54.     For college students specifically, beginning their social transition process is

related to several factors, but notably having their institution enact transgender-affirming policies

and procedures and having access to transgender-inclusive, gender-related curricular experiences

were incredibly important (Lange, 2022). In a separate study, transgender students noted that

there were several factors that led to their social transition in college, including supportive

faculty, LGBT centers on campus, and supportive therapists at counseling centers; though some

participants indicated there were fears of violence and harassment (Pryor, 2015).

       55.     Consequently, delaying social transition is detrimental for transgender youth.

Horton’s (2022) qualitative study of parents of transgender youth provides an in-depth analysis

of the consequences of delaying social transition for children, notably mentioning the

psychological distress that results from delaying social transition. In the largest nationwide

survey in the U.S. focusing on discrimination experiences of transgender people 18 and older,

impeding social transition processes (for example, not being able to change one’s name) is

directly related to experiencing harassment and assault (James et al., 2016). In a large (N =1,519)

nationwide Canadian survey of transgender youth, findings similarly demonstrate that not being

able to access social transition components/processes is also directly related to experiencing

harassment, assault, and denial of services (Taylor et al., 2020).




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       C.      Requiring transgender students to use facilities that are inconsistent with
               their gender identity can disclose to others who would otherwise be unaware
               that they are transgender.

       56.     Most transgender people begin using restrooms consistent with their identity after

completing other aspects of social transition (such as wearing clothing associated with their

gender, changing the way they wear their hair, and changing their name and pronouns to be

consistent with their gender). Because of that, when transgender people who are in the process of

social transition are forced to use facilities inconsistent with how their gender is perceived by

others or are excluded from facilities used by other students who identify as the same sex as

them, this can disclose to others who may not already be aware of the student’s transgender

status that the student is transgender.

       57.     The exclusion from a restroom consistent with one’s gender identity itself can

disclose a student’s transgender status, independent of whether that student is seen using a

gender-neutral restroom. For example, a group of boys/men are walking with each other down a

campus hallway after having discussed needing to use the restroom, and one of them is

transgender; the transgender male would not be able to enter the boy’s/men’s restroom with the

other group of male students based on Senate Bill 1100 and House Bill 264. The simple act of

discussing needing to use a restroom and the transgender student not entering the restroom with

the others would put the student in a difficult situation resulting in the disclosure of their

transgender status. In addition, these laws would require that transgender male to enter the

women’s restroom if no other single-user restroom were available. This would be true even

though he may have received masculinizing hormone therapy for years and developed facial hair

and a deep voice. As mentioned above, many transgender men are indistinguishable from

cisgender men, but Idaho law would leave this young man no choice but to use the women’s

restroom—likely leading to confusion and, harassment. The young man would have no choice


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but to disclose his transgender status to justify his presence in the women’s restroom, depriving

him of the ability to maintain his privacy.

       58.     There are two primary outcomes from this forced disclosure—one being that

transgender students will experience the psychological distress and gender dysphoria that come

from worrying about their gender identity being disclosed without their permission. The second

outcome is that transgender students can become targets for discrimination or worse when their

transgender status is made known to others.

       D.      Excluding transgender students from facilities used by their peers can lead to
               harassment, bullying, and even violence.

       59.     When transgender students are excluded from using facilities used by their peers,

it does not go unnoticed by other students, who receive the unmistakable message that their

transgender classmates are not suitable to be among them. This can encourage other students to

engage in harassment, bullying, and even violence toward transgender students (see Taylor et al.,

2020; Murchison et al, 2019).

       60.     Requiring transgender people to use facilities that do not correspond to their

gender identity following a social transition thus subjects those individuals to increased risk of

actual victimization as well as the realistic fear of such victimization, with the accordant harms

resulting from that stress.

       61.     Even when gender neutral restroom options are available, it can be harmful to tell

a transgender student that they are required to use those restrooms instead of having the option to

use the restroom that aligns with their gender identity. One harm is the increase in gender

dysphoria that occurs in adolescents because of being othered by not being able to use the

restroom that aligns with their gender identity. Another harm is that if gender neutral restrooms




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are full and there is a wait for access to these restrooms, there would not be another option for

the adolescent (especially in cases of a gastrointestinal emergency).

       E.      Transgender students excluded from restrooms consistent with their gender
               identity often take steps to avoid using the restroom, which can have adverse
               physical consequences.

       62.     To avoid the harmful effects of non-affirmation or fear of victimization,

transgender people, including transgender minors, will often avoid using the restroom in any

public space, including in K-12 schools and college campuses. This can lead to significant health

consequences (Condray et al., 2024). First, transgender people will often avoid an intake of

fluids to avoid the necessity to urinate; this can have significant health consequences related to

dehydration. Even if transgender people do not avoid fluid intake, they will often hold urine in

their bladders to avoid using the restroom; this can also cause negative health consequences such

as urinary tract or kidney infections. Transgender people may also avoid eating certain foods (or

restrict food in general) to circumvent defecation, leading to constipation and muscle

damage/weakness (see James et al., 2016 for data regarding these outcomes). When I have

worked with transgender minors and transgender college students in my clinical practice, it is

clear that there can be physical health consequences with these avoidance behaviors that also

manifest in mental health distress.

       F.      Restricting transgender students from using facilities consistent with their
               gender identity interferes with their education.

       63.     Disaffirmation of a transgender student’s gender identity, interference with the

student’s social transition, and anxiety about having their transgender identity disclosed and

having to use restrooms inconsistent with the student’s gender identity causes emotional harm

that interferes with students’ ability to concentrate, learn, and thrive at in K-12 schools and

college campuses. In addition, reducing fluid and food intake and holding urine in their bladders



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is psychologically distressing and distracting and also makes it harder for students to concentrate

in their classes and learn. All of this interferes with these students’ education and denies them

equal educational opportunities. It impairs their ability to develop a healthy sense of self, peer

relationships, and the cognitive skills necessary to succeed in adult life. Additionally,

transgender students may stop going to school because of the disaffirmation they are

experiencing by not being able to use the restroom that fits their gender identity and subsequent

bullying by being outed because of restroom policies at their schools. Pampati et al. (2020)

indicate that bullying experiences are associated with absenteeism in school for transgender

students; it is well established that chronic absences impact academic achievement (Gottfried,

2019). In addition, transgender college students reported higher instances of intending to drop

out of college when there were fewer resources/nondiscrimination policies (Liss et al., 2024).

Golberg et al. (2019) also provide qualitative accounts of transgender college students who

dropped out of college due to institutional discrimination and specifically note the experience of

a transgender woman named Adelyn who was reported to the police for her use of the women’s

restroom.

V.     THERE IS NO EVIDENCE THAT TRANSGENDER PEOPLE’S USE OF
       RESTROOMS CONSISTENT WITH THEIR GENDER IDENTITY HARMS
       OTHERS.

       64.     Policies restricting transgender people’s, and in particular transgender youths’,

access to restrooms that are consistent with their gender identity are frequently sought to be

justified by claims that are not supported by the facts. One such piece of misinformation is that

transgender people are a threat to the safety of other people when they use restrooms that do not

correspond to the sex they were assigned at birth. The evidence does not support this concern

(Crissman et al., 2020). This claim is frequently advanced with assertions that a transgender

person assaulted someone in a restroom when in fact the person who committed the assault


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generally is not transgender. The evidence indicates that transgender people are not any more

likely to pose a threat to safety in restrooms when compared to cisgender people. In fact,

transgender people are the ones who are most likely to be assaulted in restrooms (see Murchison

et al., 2019; Taylor et al., 2020).

        65.     Another piece of misinformation is that transgender people will expose their

genitals to others or engage in “peeking” at others’ genitals in public restrooms. Such conduct is

illegal or may subject individuals engaging in it to discipline but, even more importantly, there is

no evidence indicating that transgender people are more likely to engage in such misconduct than

cisgender people. In my clinical experience discussing restroom safety and perception of threats

with transgender patients and community members, transgender people are generally more

concerned about their own safety and are focused on their own anxiety and fear when using the

restroom. Young people generally exhibit modesty with regard to exposure of their genitals to

others, and this is particularly true of transgender young people for whom bringing any attention

to their genitals makes them extremely uncomfortable and can increase their experience of

gender dysphoria. Gender dysphoria is an uncomfortable and distressing experience, by

definition, and transgender people attempt to avoid experiencing it if provided with the

opportunity (see Galupo et al., 2020).

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